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     ORDERED in the Southern District of Florida on January 17, 2019.




                                                            Robert A. Mark, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 www.flsb.uscourts.gov

  In re: Cabrera Investments, LLC,                        Case No. 18-19175-RAM
                                                          Chapter 11
         Debtor.
                                ____    /

       AGREED ORDER GRANTING, IN PART, DEBTOR’S MOTION TO VALUE
    AND DETERMINE SECURED STATUS OF LIENS ON REAL PROPERTY (D.E. 19)

         This cause came before the Court on January 17, 2019 at 11:00 a.m., upon

  Cabrera Investments, LLC’s (the “Debtor”) Motion to Value and Determine Secured

  Status of Liens on Real Property (D.E. 19) (the “Motion”), and Bank of America, N.A.’s

  Response to Debtor’s Motion to Value and Determine Secured Status of Liens on Real

  Property (D.E. 25). Debtor, ReadyCap Lending, LLC and Bank of America have agreed

  to the entry of this Order in accordance with the terms set forth herein.
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       1.     Debtor’s Motion seeks to value the real property located at 6500 Cow Pen

Road, Unit 203, Miami Lakes, FL 33014, and more particularly described as Unit 203, of

COLONNADE AT MIAMI LAKES CONDOMINIUM ASSOCIATION, a Condominium,

according to the Declaration of Condominium thereof, as recorded in O.R. Book 22921,

Page 3088, of the Public Records of Miami-Dade County, Florida, as amended and/or

supplemented by Amendment to Declaration of Condominium and Protective Covenants

recorded on March 4, 2005 in O.R. Book 23137, Page 1038 (the “Real Property”), at

$303,000.00, based upon its appraisal.

       2.     The Lender asserts the value of the Real Property is at least $320,000.

       3.     To avoid the fees and costs associated with continued dispute over the

Motion, and to resolve the Motion, the parties have agreed to stipulate to the value of the

Real Property as $311,500.00. Based upon the agreement between the parties, it is

            ORDERED as follows:

       1.     The Motion is GRANTED, in part, as set forth below.

       2.     The value of the Real Property is $311,500.00.

       3.     The Parties reserve all rights and objections with respect to a chapter 11

plan to be filed by the Debtor including but not limited to 11 U.S.C. § 1111(b) elections.

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Submitted by:

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Attorney Ricardo A Rodriguez shall serve a copy of this Order on all interested parties
and file a Certificate of Service within three (3) days of its entry.
